                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DISTRICT

 UNITED STATES OF AMERICA,
                Plaintiff,                             No. CR12-4070-MWB
 vs.                                            RULE 11(c)(1)(C) REPORT AND
                                                   RECOMMENDATION
 ROXENA LEE SCHOON,
                                               CONCERNING PLEA OF GUILTY
                Defendant.
                                ____________________

         On December 13, 2012, the above-named defendant, by consent, appeared before
the undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal
Procedure 11, and entered a plea of guilty to Count One of the Indictment. After
cautioning and examining the defendant under oath concerning the subject mentioned in
Rule 11, the court determined that the guilty plea was knowledgeable and voluntary, and
the offense charged was supported by an independent basis in fact containing the essential
elements of the offense charged in Count One of the Indictment.                The court
therefore RECOMMENDS that the plea of guilty be accepted and the defendant be
adjudged guilty.
         At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if she answered any questions falsely, she could be prosecuted for
perjury or for making a false statement.       She also was advised that in any such
prosecution, the Government could use against her any statements she made under oath.
         The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated her full name, her age, and the extent of
her schooling. The court inquired into her history of mental illness and addiction to
narcotic drugs. The court further inquired into whether the defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.




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From this inquiry, the court determined that the defendant was not suffering from any
mental disability that would impair her ability to make knowing, intelligent, and a
voluntary plea of guilty to the charge.
       The defendant acknowledged that she had received a copy of the Indictment, and
she had fully discussed these charge with her attorney.
       The court summarized the charge against the defendant, and listed the elements of
the crime. The court determined that the defendant understood each and every element of
the charge, ascertained that the defendant’s counsel had explained each and every element
of the charge fully to the defendant, and the defendant’s counsel confirmed that the
defendant understood each and every element of the charge.
       The court then elicited a full and complete factual basis for all elements of the crime
charged in Count One of the Indictment.
       The court advised the defendant of the consequences of her plea, including, the
maximum fine and the maximum term of imprisonment.
       With respect to Count One, the defendant was advised that the maximum fine is
$250,000; the maximum term of imprisonment is five years; and the maximum period of
supervised release is three years.
       Counts Two, Four, Five, Six, Seven and Eight will be dismissed at sentencing.
       The court advised the defendant that she was pleading guilty under a plea agreement
with the Government that provided for the imposition of a specific, agreed sentence at the
time of the sentencing hearing. After confirming that a copy of the written plea agreement
was in front of the defendant and her attorney, the court determined that the defendant
understood the terms of the plea agreement. The court explained to the defendant that at
the sentencing hearing, the district judge would consider whether or not to accept the plea
agreement and impose the agreed sentence. If the district judge decided to accept the plea
agreement and impose the agreed sentence, then the defendant would receive the agreed


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sentence. If the district judge decided to reject the plea agreement and impose a different
sentence, then the defendant would have an opportunity to withdraw her plea of guilty and
plead not guilty. The court further advised the defendant that pursuant to the terms of the
plea agreement, which provided that she was pleading guilty pursuant to Rule 11(c)(1)(C),
Federal Rules of Criminal Procedure, she would be sentenced to a term of imprisonment
of five years. The court explained to the defendant that if the district judge rejected the
plea agreement and the defendant did not withdraw her guilty plea, then the court could
dispose of the case less favorably toward her than the plea agreement contemplated,
including imposing a longer sentence than the one to which the parties had agreed in the
plea agreement.
       The defendant also was advised that the court was obligated to impose a special
assessment of $100.00 which she must pay. She also was advised of the collateral
consequences of a plea of guilty. The defendant acknowledged that she understood all of
the above consequences.
       The court then explained supervised release to the defendant, and advised the
defendant that a term of supervised release would be imposed in addition to the sentence
of imprisonment. The defendant was advised that among other conditions of supervised
release, she could not commit another federal, state, or local crime while on supervised
release, and she could not possess illegal controlled substances while on supervised
release. The defendant was advised that if she were found to have violated a condition of
supervised release, then her term of supervised release could be revoked and she could be
required to serve in prison all or part of the term of supervised release without credit for
time previously served on supervised release.
       The defendant was advised that parole has been abolished.
       Defendant also acknowledges that her plea agreement contains an appeal waiver,
and she agrees to waive her appeal rights as set out in that waiver.


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        The defendant indicated she had conferred fully with and was fully satisfied with
her attorney. The defendant’s attorney indicated that there is a factual basis for the guilty
plea.
        The defendant was advised fully of her right to plead not guilty, and have a jury
trial, including:
        1.    The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;

        2.    The right to a speedy, public trial;
        3.    The right to have her case tried by a jury selected from a cross-section of the
              community;
        4.    That she would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense(s) beyond a reasonable doubt;
        5.    That the Government could call witnesses into court, but the defendant’s
              attorney would have the right to confront and cross-examine those witnesses;
        6.    That the defendant would have the right to see and hear all witnesses
              presented at trial;
        7.    That the defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if she could not afford to pay the mileage and other
              fees to require the attendance of those witnesses, then the Government would
              be required to pay those costs;
        8.    That the defendant would have the privilege against self incrimination; i.e.,
              she could choose to testify at trial, but she need not do so, and if she chose
              not to testify, then the court would, if the defendant requested, instruct the
              jury that the defendant had a constitutional right not to testify;
        9.    That any verdict by the jury would have to be unanimous;
        10.   That she would have the right to appeal, and if she could not afford an
              attorney for the appeal, then the Government would pay the costs of an
              attorney to prepare the appeal.




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          The defendant also was advised of the rights she would waive by entering a plea of
guilty. The defendant was told there would be no trial, she would waive all the trial rights
just described, and she would be adjudged guilty without any further proceedings except
for sentencing.
          The defendant then confirmed that her decision to plead guilty was voluntary and
was not the result of any promises other than plea agreement promises, and her decision
to plead guilty was not the result of any threats, force, or anyone pressuring her to plead
guilty.
          The defendant then confirmed that she still wished to plead guilty, and she pleaded
guilty to Count One of the Indictment.
          The court finds the following with respect to the defendant’s guilty plea:
          1.    The guilty plea was voluntary, knowing, not the result of force, threats or
                promises, except plea agreement promises, and the defendant is fully
                competent.
          2.    The defendant is aware of the maximum punishment.
          3.    The defendant knows her jury rights.
          4.    The defendant has voluntarily waived her jury rights.
          5.    There is a factual basis for the plea.
          6.    The defendant is, in fact, guilty of the crime to which she is pleading guilty.
          The defendant was advised that a written presentence investigation report would be
prepared to assist the court in sentencing. The defendant was asked to provide the
information requested by the U.S. Probation Office to prepare the presentence
investigation report. The defendant was told that she and her counsel would have an
opportunity to read and object to the presentence report before the sentencing hearing, and
she and her counsel would be afforded the opportunity to be heard at the sentencing
hearing.



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      The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar her from attacking
this court’s Report and Recommendation, which recommends that the assigned United
States District Judge accept the defendant’s plea of guilty. A copy of this Report and
Recommendation was served on the defendant and her attorney at the conclusion of the
proceeding.
      DONE AND ENTERED at Sioux City, Iowa, this 17th day of December, 2012.




                                         ________________________________
                                         LEONARD T. STRAND
                                         MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




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